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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

 IN RE:
                                                        CHAPTER 11
 AMERICAN BERBER, INC.
                                                        CASE NO. 19-41154-bem
          Debtor.

                   REPORT OF SALE OF REAL PROPERTY
        AND APPLICATION FOR APPROVAL OF PROPOSED DISTRIBUTIONS

        American Berber, Inc. (the “Debtor”) submits this Report of Sale and Application for

 Approval of Proposed Distributions (the “Application”) regarding the real property located at

 180 N. Industrial Boulevard, Calhoun, Georgia owned by Howard E. Johnson (the “Property”),

 and respectfully shows the Court as follows:

        1.        The Debtor filed a voluntary petition for relief under chapter 11 on May 16,

 2019, and has continued in the possession of its assets and the operation of its business as Debtor-

 in-Possession.

        2.        On July 22, 2021, the United States Trustee filed a Motion to Convert to Chapter

 7, or in the Alternative Appointment of a Chapter 11 Trustee (Doc. No. 190).

        3.        On August 16, 2021, Debtor filed a Motion to Dismiss Pursuant to Section

 1112(b) (Doc. No. 208).

        4.        On September 21, 2021, the Court entered an Interlocutory Order on the above

 motions (Doc. No. 213) (the “Interlocutory Order”). As evidenced by his signature to the

 Interlocutory Order, Howard E. Johnson (“Mr. Johnson”) agreed to escrow $1,000,000.00 (the

 “Escrowed Funds”) with Jones & Walden LLC to be disbursed only by further order of the Court.




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        5.      The Interlocutory Order further required the Debtor to file no later than ten days

 after the closing of the sale this report of sale together with proposed distributions of such

 Escrowed Funds with the Court.

                           Closing on 180 N. Industrial Blvd Property

        6.      Mr. Johnson entered into a contract to sell the Property for $2,356,000.00.

        7.      On December 9, 2021, Mr. Johnson closed on the sale of the Property.

        8.      On December 9, 2021, Jones & Walden LLC received the wire for the Escrowed

 Funds in the amount of $1,000,000.00. Such funds are currently held in the firm’s IOLTA

 account.

        9.      Separate and apart from the Escrowed Funds, the closing attorney also wired

 $285,000.00 to Sparky Kelehear to hold in his trust account pursuant to an order of the Superior

 Court of Gordon County in Jennifer Harris, Marshall B. Harris and Robert Miller v. Howard

 “Skip” Johnson, Case No. 21-cv-71705.

        10.     Terry Brumlow, Esq., the closing attorney, also escrowed $75,000.00 based on a

 purported lien filed the day of closing by Monte Sanders, a real estate broker. A hearing is set on

 a Motion to Cancel and Set Aside Such Lien on December 28, 2021 at 9:00 am in Gordon

 County Superior Court. If the Superior Court grants the motion, the $75,000.00 will be

 subsequently disbursed to Mr. Johnson.

        11.     The remaining amounts, less ordinary closing expenses, in the amount of

 $959,257.92 have been disbursed to Mr. Johnson. A true and correct copy of the closing

 statement evidencing such disbursements is attached as Exhibit A.




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                       Proposed Distributions from the Escrowed Funds

        12.     As a general matter, Debtor proposes to disburse funds from the Escrowed Funds

 to pay the following category of expenses: (i) professional fees, administrative expenses, and tax

 claims, (ii) subsequently-approved administrative expenses, (iii) the claim of Joe Farless, if any,

 and (iv) for all remaining funds to be paid to Howard Johnson as return of such unused funds to

 the settler of the Escrowed Funds.

        13.     Tax Claims: Specifically, Debtor proposes to make the following distributions to

 tax claimants from the Escrowed Funds within 14 days of entry of the Court’s order approving

 this Application and such distributions:

                        Payor                     Basis                    Amount
              Internal Revenue Service              AB POC 9                 $30,345.76
              Internal Revenue Service             ACP POC 7                  $2,200.00
              Tennessee Department of              AB POC 26                  $1,053.58
              Labor
              Total                                                          $33,599.34

        14.     Professional   Compensation:     Debtor    shows    that    the   following   unpaid

 compensation has been approved to date on an interim basis:

              Jones & Walden LLC             Unpaid Approved                 $34,633.00
                                               Administrative
                                                     Expense
              Gary Murphy                    Unpaid Approved                  $6,840.00
              (Examiner)                       Administrative
                                                     Expense
              Burr & Forman                  Unpaid Approved                 $20,029.20
              (Attorneys for Examiner)         Administrative
                                                     Expense
              Resurgence Financial           Unpaid Approved                  $9,226.30
              (Financial Consultants for       Administrative
              Examiner)                              Expense




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         15.     Payment to Professionals: Debtor proposes to make the distributions to

 professionals from the Escrowed Funds within 14 days of a final order approving any final

 applications for administrative expenses:

                        Payor                      Basis                Amount
               Jones & Walden LLC                    Approved      To be determined by
                                                  Administrative              the Court
                                                       Expense
               Gary Murphy                           Approved      To be determined by
                                                  Administrative              the Court
                                                       Expense
               Burr & Forman                         Approved      To be determined by
                                                  Administrative              the Court
                                                       Expense
               Resurgence Financial                  Approved      To be determined by
                                                  Administrative              the Court
                                                       Expense
               Total                                               To be determined by
                                                                              the Court

         16.     U.S. Trustee Fees: Debtor proposes to pay any and all U.S. Trustee fees from the

 Escrowed Funds as the same become due and payable.

         17.     Farless Payment: Debtor proposes to make the following distributions from the

 Escrowed Funds upon 21 days of entry of a final order by the Court resolving the claim of Joe

 Farless 1.

                     Payor                   Basis                   Amount
               Joseph Farless                Court’s Order The amount, if any, shall be
                                                           determined by the Court.
                                                           Farless shall be paid any
                                                           such allowed amount from
                                                           the remaining balance of
                                                           the Escrowed Funds. To the
                                                           extent any award exceeds
                                                           the remaining balance of
                                                           the Escrowed Funds,

 1
   The trial is currently scheduled for March 14-18, 2022 in the adversary proceeding styled
 Joseph Farless v. Howard E. Johnson, individually and d/b/a American Extruders, American
 Berber, Inc., and American Carpet Group, Inc., Adv. Proc. No. 19-4027-bem.
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                                                           Farless shall be entitled to
                                                           recover the same as
                                                           provided by law.

         18.     Release of Escrow: Debtor proposes to make the following distributions from the

 Escrowed Funds after payment of any amount due Joe Farless under the preceding paragraph or

 determination by final order not subject to appeal that no amount is due Joe Farless:

                     Payor                 Basis                     Amount
               Howard           E. Return of any           Any remaining balance of
               Johnson             unused Escrowed         the Escrowed Funds after
                                   Funds to the settler    the payment of the claim of
                                   of the Escrowed         Joe Farless and all other
                                   Funds                   amounts set forth above.


         19.     Contemporaneously herewith, Debtor is filing a motion to expedite the hearing on

 this Report of Sale and Proposed Distributions.

         20.     A proposed order granting this application is attached as Exhibit B.

         WHEREFORE, Debtor requests that the Court (a) enter an order approving the

 distributions proposed in this Report (substantially in the form attached as Exhibit B), and (b)

 grant such other relief as is just and proper.

         Respectfully submitted this 10th day of December, 2021.

                                                  JONES & WALDEN LLC

                                                  /s/ Thomas T. McClendon
                                                  Thomas T. McClendon
                                                  Ga. Bar No. 431452
                                                  699 Piedmont Ave NE
                                                  Atlanta, Georgia 30308
                                                  (404) 564-9300 Telephone
                                                  tmcclendon@joneswalden.com
                                                  Attorney for Debtor




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                        Exhibit “A”
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                         Exhibit “B”
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION

IN RE:
                                                    CHAPTER 11
 AMERICAN BERBER, INC.,
                                                    CASE NO. 19-41154-bem
         Debtor.

                  ORDER ON DEBTOR’S REPORT OF SALE OF
           REAL PROPERTY AND NOTICE OF PROPOSED DISTRIBUTIONS

         On December 10, 2021, American Berber, Inc. 1 (“Debtor”) filed its “Report of Sale and

 Application for Approval of Proposed Distributions” (“Application”) (Doc. No. _____). This

 case came before the Court on December 21, 2021, following notice to creditors and other

 parties in interest in accordance with Bankruptcy Rule 2002(a), for a hearing on the Motion.

 Leon Jones and Tom McClendon appeared on behalf of Debtor. Vanessa A. Leo appeared on

 behalf of the United States Trustee. [Additional appearances] The Debtor’s request to approve

 1
   On August 28, 2019, the Court entered an order substantively consolidating the Chapter 11
 cases of American Berber, Inc., case no. 19-41154, and American Carpet Group, Inc., case no.
 19-41150, into Debtor’s case (Doc. No. 63, as amended, Doc. No. 66).
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 the proposed disbursements as set forth in the Application is GRANTED, and it is hereby

 ORDERED as follows:

    1. Debtor’s proposed disbursements are APPROVED.

    2. Notwithstanding 11 U.S.C. § 349(b) or other applicable provisions of Title 11 of the

        United States Code, Jones & Walden LLC shall disburse the funds held in the firm’s

        IOLTA account in the amount of $1,000,000.00 only in accordance with the terms set

        forth in the Application as approved by this Order or further order of the Court.

    3. The Court retains jurisdiction to enforce this Order.

                                        End of Document

 Prepared and presented by:

 JONES & WALDEN LLC
 /s/ Thomas T. McClendon
 Thomas T. McClendon
 Georgia Bar No. 431452
 699 Piedmont Avenue NE
 Atlanta, Georgia 30308
 (404) 564-9300
 tmcclendon@joneswalden.com
 Attorney for Debtor


 Distribution List:

 Thomas T. McClendon
 Jones & Walden LLC
 699 Piedmont Ave NE
 Atlanta, Georgia 30308

 Office of the United States Trustee
 362 Richard B. Russell Building
 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303

 American Berber
 100 Thomas Street
 Calhoun, GA 30703
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

 IN RE:
                                                      CHAPTER 11
 AMERICAN BERBER, INC.
                                                      CASE NO. 19-41154-BEM
          Debtor.

                                CERTIFICATE OF SERVICE

         I hereby certify that on December 10, 2021, the Report of Sale of Real Property and
 Application for Approval of Proposed Distributions was electronically filed using the
 Bankruptcy Court’s Electronic Case Filing program, which sends notices of and accompanying
 links to the Notice and Motion to the following parties who have appeared in this case under the
 Bankruptcy Court’s Electronic Case Filing Program:

    •   Matthew R. Brooks matthew.brooks@troutmansanders.com
    •   Erich N. Durlacher edurlach@burr.com, awyatt@burr.com
    •   Timothy M. Gibbons tgibbons@chamblisslaw.com, jgranillo@chamblisslaw.com
    •   Michael D. Hurtt hurttnotices@windstream.net;
        hurttecfnotices@gmail.com;G17451@notify.cincompass.com
    •   David W. Johnson david@hurttlaw.com,
        david.johnson8@gmail.com;G17451@notify.cincompass.com
    •   Lindsay P. S. Kolba lindsay.p.kolba@usdoj.gov
    •   Vanessa A. Leo ustpregion21.at.ecf@usdoj.gov, Vanessa.A.Leo@usdoj.gov
    •   Jeffrey W. Maddux jmaddux@chamblisslaw.com,
        lthreadgill@chamblisslaw.com;mculp@chamblisslaw.com;sbarham@chamblisslaw.com;
        gfairbanks@chamblisslaw.com;ttucker@chamblisslaw.com;gchambers@chamblisslaw.c
        om;cgarrett@chamblisslaw.com
    •   Gary M. Murphey murphey@rfslimited.com
    •   Martin P. Ochs martin.p.ochs@usdoj.gov
    •   Office of the United States Trustee ustpregion21.at.ecf@usdoj.gov
    •   Thomas D. Richardson Tdr82454@gmail.com;TRichardson@Brinson-Askew.com
    •   Thomas R. Walker thomas.walker@fisherbroyles.com
    •   Stuart Freeman Wilson-Patton agbankgeorgia@ag.tn.gov, Stuart.Wilson-
        Patton@ag.tn.gov
    •   Adolyn C. Wyatt dsteiger@burr.com




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 This 10th day of December, 2021.

                                          JONES & WALDEN LLC

                                          /s/ Thomas T. McClendon
                                          Thomas T. McClendon
                                          Georgia Bar No. 431452
                                          Attorney for Debtor
                                          699 Piedmont Ave NE
                                          Atlanta, Georgia 30308
                                          tmcclendon@joneswalden.com




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